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May 31, 2023                                                                   Dan L. Bagatell
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FILED VIA CM/ECF

Colonel Peter R. Marksteiner
Clerk/Circuit Executive
United States Court of Appeals for the Federal Circuit
717 Madison Place, N.W., Room 401
Washington, D.C. 20439

    Sonos, Inc. v. ITC, Nos. 2022–1421 & 2022–1573 (not yet calendared):

     Response to Sonos’s Rule 28(j) Letter Regarding In re Nicira, Inc.,
No. 2022-1297, 2023 WL 3071641 (Fed. Cir. Apr. 25, 2023) (non-precedential)

Dear Colonel Marksteiner:

      The non-precedential decision in Nicira does not help Sonos.

       Nicira’s representative claim recited “[a] non-transitory machine readable
medium for storing a program ... for execution by at least one processing unit, the
program comprising sets of instructions for,” among other things, “receiving a
command,” “sending a request for [a] new [encryption] key,” and “process[ing] data
messages” using encryption keys. Nicira Appx077 (attached). Applying the broad-
est-reasonable-interpretation standard, the PTAB rejected Nicira’s assertions that the
claims required that (1) a single program on a single device both receive the com-
mand and send the request for the new key, and (2) the same device process data
messages using encryption keys.

      The issue was not, as Sonos asserts, whether “multiple items” had “to appear
together in any one object”—everyone agreed that the instructions were part of one
program. Instead, the issue was whether the functions of that program had to be
executed on a single device. 2023 WL 3071641, at *1. The claim language expressly
covered multiple “sets of instructions” executed by multiple (“at least one”)
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processing units. Id. Applying the BRI standard, this Court thus concluded that the
claims “contemplate[d] that separate entities w[ould] perform those tasks” and
affirmed that they covered “a single program with instructions acting across different
entities.” Id.

      Here, the BRI standard doesn’t apply, and the issue and claim language are
fundamentally different. Everyone agrees that the ’896 claims allow one or more
“second messages”—the question is whether each such “second message” must
contain both recited network-configuration parameters. And the claim language and
the specification make clear that the answer is yes. See RedBr52-57.
       Nicira certainly did not “confirm” Sonos’s interpretation of 01 Communique.
Nicira cited 01 Communique only for the uncontroversial proposition that “a” gener-
ally means “one or more,” and Google’s construction comports with that principle
by allowing multiple second messages. Nor did Nicira undermine the significance
of Salazar and Varma. Unlike Nicira, Salazar and Varma were precedential, and
they addressed the critical issue here: whether a single instance of a recited element
(here, a “second message”) must include every feature the claims say it does.
                               Respectfully submitted,
                                  /s/Dan L. Bagatell
                                   Dan L. Bagatell
                              Counsel for Google LLC

Copy by CM/ECF to all counsel of record
Attachment (claims at issue in Nicira, from Appx077 in No. 2022-1297)

                              Certificate of Compliance

      I certify that the body of this letter contains 350 words, within the limit set by
Federal Rule of Appellate Procedure 28(j).

Dated: May 31, 2023                            /s/Dan L. Bagatell
                                                 Dan L. Bagatell
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                 Attachment:
         Nicira Claim Language
           Case:
            Case:22-1297
                  22-1421 Document:
                           Document:12-2
                                     68                 Page:
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                 REJECTED CLAIMS OF THE PENDING APPLICATION


1.     (Previously Presented) A non-transitory machine readable medium for storing a program

for updating a keyring with a plurality of keys, the keyring stored on a host computing device

that executes a plurality of virtual machines (VMs) and used for encryption operations for data

messages associated with at least one particular VM, the program for execution by at least one

processing unit, the program comprising sets of instructions for:

       receiving a command from a controller to (1) fetch a new key for the keyring and (2)

remove a particular key from the plurality of keys in the keyring;

       based on the received command, sending a request for the new key to a key generator;

       continuing to process data messages received for the particular VM by using any of a first

plurality of keys in the keyring including the particular key, while processing data messages

transmitted by the particular VM using any of a second plurality of keys in the keyring excluding

the particular key; and

       removing the particular key from the keyring after receiving the new key so that the

particular key is no longer used to process data messages for the particular VM.

2.     (Previously Presented) The non-transitory machine readable medium of claim 1, wherein

the program further comprises a set of instructions for processing received and transmitted data

messages for the particular VM by using the keyring that includes the new key after receiving the

new key.

3.     (Original) The non-transitory machine readable medium of claim 1, wherein the

command is received when the particular key has been used for a certain duration of time.




N162.07.C1 (NCRA.P0287C)                      -- 1 --

                                             Appx077
